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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION


IN RE :                                           CASE NUMBER: 19-13220-MAM

SUSAN ELIZABETH RAYWOOD,                                (Chapter 7)

        Debtor.
____________________________________/

                  TRUSTEE’S OBJECTION TO DEBTOR’S APPLICATION
                      FOR WAIVER OF CHAPTER 7 FILING FEE

        DEBORAH C. MENOTTE, TRUSTEE of the above-named debtor estate, files this
Objection to Debtor’s Application for Waiver of Chapter 7 Filing Fee [ECF#2] and would state
as follows:
        1. The Debtor filed a Voluntary Petition under Chapter 7 on March 13, 2019. The case
was filed with counsel, however was filed petition only so there are no Schedules to review.
        2.    This is a repeat filing for this debtor having filed a Chapter 7 petition on June 13,
2018. That case also requested a waiver of the filing fee which was granted.
        3. The Application for Waiver of Filing Fee [ECF#2] in Part 4, Question 17 indicates
that Debtor has filed an attorney “$35,000.00” with respect to services rendered “for this case,
including filing out this application”.
        4. Based on the foregoing, the Trustee hereby objects to the Debtor’s Application for
Waiver of Chapter 7 Filing Fee and requests that the Application be denied outright, or in the
alternative, that the filing fee be paid in installments.
        WHEREFORE, the Trustee, Deborah C. Menotte, hereby requests that this Court enter
an order sustaining her objection to Debtor’s Application for Waiver of Chapter 7 Filing Fee and
require the Debtor to pay the filing fee in full, or by way of installment payments and for such
other and further relief as the Court may deem appropriate.
        I HEREBY CERTIFY that a true copy of the foregoing has been furnished by regular
mail to Susan E. Raywood, 7 NE 9th Street, Delray Beach, FL 3344 this 19th day of March,
2019 and by ECF Service to:
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                                     DEBORAH C. MENOTTE, TRUSTEE

                                     /S/________________________________
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